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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


                                                       )        Chapter 11
In re:                                                 )
                                                       )        Case No. 19-10998 (BLS)
                                                1
HOSPITAL ACQUISITION, LLC, et al.,                     )
                                                       )        Jointly Administered
                 Debtors.                              )
                                                       )        RE: Docket Nos. 227, 298, 393, 401
                                                       )
                                                       )        Obj. Deadline: 8/1/2019, 5:00 p.m. ET
                                                       )        Hearing Date: 8/13/2019, 10:00 a.m. ET
)
            OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED
            CREDITORS OF HOSPITAL ACQUISITION, LLC, ET AL. TO THE
           DEBTORS’ MOTION FOR (I) AN ORDER ESTABLISHING BIDDING
         PROCEDURES AND GRANTING RELATED RELIEF AND (II) AN ORDER
               OR ORDERS APPROVING THE SALE OF THE ASSETS

         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

above-captioned chapter 11 cases of Hospital Acquisition, LLC and its affiliated debtors and

debtors-in-possession (collectively, the “Debtors”), by and through its counsel, files this

objection (the “Objection”) to the Debtors’ Motion for (i) An Order Establishing Bidding

Procedures and Granting Related Relief and (ii) an Order or Orders Approving the Sale of the




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Hospital Acquisition LLC (3232); Hospital Acquisition Intermediate Sub LLC
         (9609); LifeCare Holdings LLC (f/k/a Hospital Acquisition Sub I LLC) (6612); LifeCare Behavioral Health
         Hospital of Pittsburgh LLC (9835); New LifeCare Hospitals LLC (7959); New LifeCare Hospitals of
         Dayton LLC (2592); New LifeCare Hospitals of Milwaukee LLC (2428); New LifeCare Hospitals of South
         Texas LLC (4237); Hospital Acquisition Sub II LLC (7920); New LifeCare Management Services LLC (
         431 0); New LifeCare REIT I LLC (9849); New LifeCare Hospitals of Mechanicsburg LLC (0174); New
         Pittsburgh Specialty Hospital LLC (7592); LifeCare Vascular Services, LLC (5864); New LifeCare
         Hospitals of North Texas LLC (4279); New LifeCare Hospitals of Chester County LLC (1116); New
         LifeCare Hospitals of Northern Nevada LLC (4534); New San Antonio Specialty Hospital LLC (2614);
         New LifeCare Hospitals of North Carolina LLC (7257); New LifeCare Hospitals of Pittsburgh LLC (8759);
         New NextCare Specialty Hospital of Denver LLC (6416); Hospital Acquisition MI LLC (4982); LifeCare
         Pharmacy Services LLC (3733); New LifeCare REIT 2 LLC (1315); New LifeCare Hospitals at Tenaya
         LLC (6891); and New LifeCare Hospitals of Sarasota LLC (8094). The Debtors’ address is 5340 Legacy
         Drive, Suite 150, Plano, Texas 75024.
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Assets [Docket No. 227] (the “Sale Motion”). 2 In support of its Objection, the Committee

respectfully states as follows:

                                              I.
                                    PRELIMINARY STATEMENT

        1.      The Committee has been and remains supportive of the Debtors’ efforts to

maximize the value of their businesses and ensure ongoing patient care through a going-concern

sale. While the Committee remains supportive of this sale process, the Proposed Sale (as defined

below) must be considered in the broader context of these cases – specifically, the implications

that the sale process will have on the administrative solvency of the Debtors’ estates and the

conclusion of these cases, whether through a liquidating plan or otherwise.

        2.      The Debtors have approximately $213 million of secured debt. The Committee is

under no illusion that this sale process will yield sufficient proceeds – even with a “home run” at

the auction – to pay the secured lenders in full.               This economic reality is not, however,

justification to sell substantially all the Debtors’ assets without a viable means to pay the costs of

these cases.

        3.      Under the terms (described in more detail below) of the credit agreement

governing the DIP Facility (the “DIP Agreement”) and the final order approving the DIP

Facility (the “Final DIP Order”), 3 the Debtors can use proceeds of the DIP Facility and cash

collateral only pursuant to the terms of the Budget (as defined in the Final DIP Order).

Currently, the Budget does not contemplate a post-sale wind down of the Debtors’ estates.

Moreover, after payment of the obligations under the DIP Facility, the Debtors’ authority to use

the prepetition lenders’ cash collateral will terminate absent an agreement with the lenders on a

2
        Capitalized but undefined terms herein shall have the same meanings as ascribed to them in the Sale
        Motion.
3
        See Final Order(i) Authorizing the Debtors to Obtain Postpetition Financing, (ii) Authorizing Use of Cash
        Collateral, (iii) Granting Liens and Providing Superpriority Administrative Expense Status, (iv) Granting
        Adequate Protection, (v) Modifying the Automatic Stay, and (vi) Granting Related Relief [Docket No. 278].
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Wind Down Budget (as defined in the Final DIP Order), which has not yet occurred. Without

access to cash, the Debtors cannot appropriately wind down these cases. Accordingly, any

authority granted to the Debtors to sell their assets should be conditioned on an appropriate Wind

Down Budget that will be funded with the sale proceeds or other proceeds generated through the

collection of accounts receivable.

        4.       The Committee has had only preliminarily discussions with the Debtors and

counsel to the Prepetition Second Term Facility Agents (as defined in the Final DIP Order)

regarding a Wind Down Budget and related issues.                  The Committee has no assurances that a

Wind Down Budget will be agreed to and no assurances that these cases will not be left

administratively insolvent after the sale process is completed and the accounts receivable are

liquidated.    While the Committee understands that the sale closing and liquidation of the

accounts receivable will take some time, absent a path to administrative solvency, consummating

the Proposed Sale (and any other sales), as structured and without a Wind Down Budget in place,

is not a sound exercise of the Debtors’ business judgment.

        5.       Finally, in addition to the Committee’s macro concerns regarding the impact of

the Proposed Sale on the viability of these cases, the Committee also has concerns regarding

some of the specific provisions in the Stalking Horse APA. 4 The Committee has expressed its

concerns to the Debtors. While the Committee will continue to work in to resolve the issues, the

following is a summary of those that remain.


4
        The Committee’s objections to the form of Stalking Horse APA are limited to the Stalking Horse APA
        included in the Notice of Stalking Horse Bid in Connection with Debtors’ Motion for (i) Order Establishing
        Bidding Procedures and Granting Related Relief and (ii) an Order or Orders Approving the Sale of Assets
        [Docket No. 393] (the “PAM Bid”). On July 31, 2019, the Debtors filed a certification of counsel with this
        Court relating to a second proposed stalking horse bid for assets that are not included in the PAM Bid.
        [Docket No. 436] (the “LifeCare 2.0 Bid”). While the Committee has no objection to LifeCare 2.0, LLC
        being designated as the stalking horse bidder for certain assets and no objection to the proposed bid
        protections contained in the LifeCare 2.0 Bid, the Committee is in the process of reviewing the LifeCare
        2.0 Bid and therefore expressly reserves its rights to raise objections to that asset purchase agreement at or
        prior to the Sale Hearing.
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        •    Assumed Accounts Payable. Under section 2.3(a) of the Stalking Horse APA, the
             Buyer is assuming “all accounts payable related to the Seller Facilities that are listed
             on Schedule 2.3(a).” Schedule 2.3(a) can continue to be changed up to the time of
             closing. Moreover, if certain accounts payable related to the Seller Facilities are not
             listed on Schedule 2.3(a), then they are not assumed by the Buyer, again impacting
             the administrative solvency of these estates.

        •    Payment of Section 503(9) Claims. The Committee has indicated that claims arising
             under Section 503(b)(9) and relating to the Seller Facilities should be paid as part of
             this sale or otherwise addressed in the Wind Down Budget.

        •    Access to Books and Records. Under section 5.8 of the Stalking Horse APA, the
             Debtors have access to the Buyer’s books and records. The Committee and any post-
             confirmation entity (such as a liquidating trust) should have the same access to the
             books and records.

        •    Avoidance Actions. Under section 2.1(j) of the APA, the Buyer is purchasing
             Avoidance Actions related to the Purchased Assets. If the Buyer wants to purchase
             these assets for the benefit of its go-forward business, it should agree to extinguish
             such Avoidance Actions.

        •    Causes of Action. Also under section 2.1(j) of the APA, the Buyer is purchasing “all
             claims or causes of action relating to or arising from any of the Purchased Assets.”
             This is a broad category for which the Debtors have not provided sufficient
             specificity. Without more information, the Committee is not able to evaluate the
             value of these causes of action and whether the Buyer is paying a fair price.

        •    Amendments. Under paragraph 34 of the proposed sale order,5 “the Stalking Horse
             [APA] and any related agreements may be waived, modified, amended, or
             supplemented by agreement of the Debtors and the Purchaser, without further action
             or order of the Court.” At a minimum, the Committee should receive notice of any
             such waiver, modification, amendment, or supplement.

        6.      Accordingly, the Committee objects to entry of an order approving a sale on the

terms currently proposed, and respectfully requests that the Court deny the relief requested in the

Sale Motion absent modifications that would resolve the objections raised herein.




5
        See Notice of Filing of Order (i) Authorizing the Sale of the Assets to the Purchaser Free and Clear of
        Liens, Claims, Interests, and Encumbrances; (ii) Authorizing the Assumption and Assignment of Certain
        Executory Contracts and Unexpired Leases; and (iii) Granting Related Relief [Docket No. 401].


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                                                   II.
                                               BACKGROUND

A.      Chapter 11 Cases

        7.       On May 7, 2019 (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court for relief under chapter 11 of title 11 of the United States Code, §§ 101 et

seq. (the “Bankruptcy Code”). The Debtors continue in possession of their properties and

management of their businesses as debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been requested or appointed in these

chapter 11 cases. The Debtors’ cases are being jointly administered for procedural purposes

only, pursuant to an order the Court entered on May 8, 2019 [Docket No. 36]. On May 17, 2019,

the United States Trustee appointed the Committee pursuant to section 1102(a)(1) of the

Bankruptcy Code.

B.      Debtors’ Capital Structure and Final DIP Order 6

        8.       As noted above, the Debtors have approximately $213 million in secured debt,

consisting of amounts outstanding under the DIP Facility, 7 the Prepetition Priming Facility and

the Prepetition Second Term Facility.

        9.       The Final DIP Order contains a waterfall with respect to the proceeds from the

sale of the secured lenders’ collateral. Under paragraph 17, subject to the Carve Out, all net

proceeds of the secured lenders’ collateral must be used to (i) first, pay all obligations under the

DIP Facility, (ii) second, pay all obligations under the Prepetition Priming Facility, and (iii)

third, pay all obligations under the Prepetition Second Term Facility.




6
        Capitalized terms in this section that are not otherwise defined shall have the meanings ascribed to such
        terms in the Final DIP Order.
7
        All obligations under the Prepetition Facility have been “rolled up” into the DIP Facility.
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        10.      Prior to the repayment of the DIP Facility, the Debtors can use proceeds of the

DIP Facility only pursuant to the Budget. 8 After repayment of the DIP Facility, the Debtors’

authority to use the Prepetition Term Facility Lenders’ cash collateral is terminated unless the

Debtors, the Prepetition Term Facility Agents, and the Committee agree on the terms of a Wind

Down Budget. 9 To date, the parties have not reached such an agreement.

C.      Proposed Sale and Remaining Assets

      11.        Under the terms of the Stalking Horse APA, the Debtors propose to sell (the

“Proposed Sale”) ten of their long-term acute care (“LTAC”) facilities, defined in the Stalking

Horse APA as the “Seller Facilities,” and certain assets (including avoidance actions) related

thereto. The cash purchase price is $29.5 million, subject to a downward adjustment based on

the amount of liabilities assumed by the Buyer.

      12.        The Buyer will also assume certain liabilities associated with the Seller Facilities,

including cure costs, certain employee liabilities, and certain accounts payable.          As to the

accounts payable, however, the Buyer will only assume payables listed on Schedule 2.3(a) of the

Stalking Horse APA, which Schedule may be modified. Thus, at this time, it is not possible to

ensure that all postpetition accounts payable relating to the Seller Facilities are being assumed

and paid in the normal course by the Buyer.

      13.        The Proposed Sale under the Stalking Horse APA does not include (i) pre-closing

receivables or (ii) the Debtors’ remaining LTAC facilities. Based on information provided by,

and discussions with, the Debtors and their advisors, the Committee currently estimates that the

proceeds of the sale under the Stalking Horse APA and other assets excluded from the Proposed

Sale (the “Remaining Assets”) will be sufficient to satisfy obligations under the DIP Facility



8
        See Final DIP Order ¶¶ 20-21.
9
        See id. ¶ 50(i).
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and the Prepetition Priming Facility, with a partial recovery on the Prepetition Second Term

Facility.

                                           III.
                                OBJECTIONS AND DISCUSSION

        14.     As discussed in more detail below, to obtain approval of the Proposed Sale, the

Debtors have the burden of meeting the requirements of section 363(b) of the Bankruptcy Code.

Among other things, the Debtors must show a sound business purpose for the Proposed Sale. As

currently structured, the Debtors cannot make this showing because of the likelihood that the sale

will leave the estates administratively insolvent. In addition, as noted above, there are certain

provisions of the Stalking Horse APA that are problematic and, thus, should not be approved.

A.      The Debtors Must Establish a Sound Business Purpose

        15.     Section 363(b) of the Bankruptcy Code states that “[t]he trustee, after notice and a

hearing, may use, sell or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b). A court will approve a sale outside the ordinary course of business

if: (i) a valid business justification exists for the sale, (ii) the price represents fair value, and (iii)

the parties negotiated and entered into the sale transaction in good faith. See In re Abbotts

Dairies of Pa., Inc., 788 F.2d 143, 149-50 (3d Cir. 1986); see also In re Montgomery Ward

Holding Corp., 242 B.R. 147, 153 (D. Del. 1999).

        16.     The first prong – the “sound business purpose” test – requires a debtor to establish

four elements: (i) adequate notice to interested parties; (ii) that an adequate price is being paid

for the assets; (iii) good faith by the parties; and (iv) a sound business judgment for the sale. See

e.g. Abbotts Dairies, 788 F.2d at 149-50; Delaware & Hudson Ry., 124 B.R. 169, 176 (D. Del.

1991) (citing In re Indus. Valley Refrigeration and Air Conditioning Supplies, Inc., 77 B.R. 15,

21 (Bankr. E.D. Pa. 1987)). Moreover, a debtor has the burden of establishing a sound business

purpose. See Montgomery Ward, 242 B.R. at 153.
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B.      If the Debtors Cannot Establish Administrative Solvency, They Cannot Establish a
        Sound Business Purpose for the Proposed Sale

        17.     Though a sale of substantially all of a debtor’s assets outside the structure of a

chapter 11 plan and disclosure statement is not prohibited by the Bankruptcy Code, multiple

courts have cautioned that in the absence of the protection and finality offered by a plan and

disclosure statement, the court must closely scrutinize the proposed sale. See In re President

Casinos, Inc., 314 B.R. 784, 785 (Bankr. E.D. Mo. 2004); see also Mission Iowa Wind Co. v.

Enron Corp., 291 B.R. 39, 43 (S.D.N.Y. 2003). Indeed, section 363 asset sales should not be

used to circumvent the protections for creditors mandated in the Bankruptcy Code. Abbotts

Diaries, 788 F.2d at 150 (stating that the requirement of good faith is paramount in ensuring that

section 363 will not be employed to circumvent usual creditor protections of chapter 11); In re

Westpoint Stevens, Inc., 333 B.R. 30, 52 (S.D.N.Y. 2005) (stating that “it is well established that

section 363(b) is not to be utilized as a means of avoiding chapter 11’s plan confirmation

procedures”) aff’d in part, rev’d in part on other grounds, 600 F.3d 231 (2d Cir. 2010) (citing In

re The Babcock & Wilcox Co., 250 F.3d 955, 960 (5th Cir. 2001) (“[T]he provisions of § 363 . . .

do not allow a debtor to gut the bankruptcy estate before reorganization or to change the

fundamental nature of the estate’s assets in such a way that limits a future reorganization

plan.”)).

        18.     Therefore, in evaluating whether a debtor has met its burden of establishing that a

sound business purpose exists for a proposed sale, courts will consider the impact the sale has on

a debtor’s ability to confirm a plan. See Delaware & H. R. Co., 124 B.R. at 175-176 (“A non-

exhaustive list of factors to consider in determining if there is a sound business purpose for the

sale include . . . the likelihood that a plan of reorganization will be proposed and confirmed in

the near future; [and] the effect of the proposed disposition of the future plan of reorganization.”)


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(citing Stephens Indus., Inc. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re Lionel Corp.,

722 F.2d 1063, 1068-69 (2nd Cir. 1983)).

         19.    A court cannot confirm a chapter 11 plan unless the plan provides for payment in

full, in cash, of all administrative expense claims on the plan's effective date. See 11 U.S.C.

§1129(a)(9)(A); In re Hechinger Inv. Co. of Delaware, 298 F.3d 219, 224 (3d Cir. 2002). The

same is generally true for priority claims under section 507(a) of the Bankruptcy Code. See 11

U.S.C. §1129(a)(9)(B); In re Armstrong World Industries, Inc., 348 B.R. 136, 166 (D. Del.

2006).

         20.    For a number of reasons, the Committee has serious doubts about the Debtors’

ability to confirm a chapter 11 plan after consummation of the Proposed Sale.            First, the

purchase price for the Proposed Sale, plus the likely value of the Remaining Assets, will not be

sufficient to pay the secured debt in these cases. Second, the Debtors, the Committee, and the

Prepetition Term Facility Agents have not yet agreed on a Wind Down Budget that would

provide liquidity to pay administrative and priority claims and confirm a chapter 11 plan. And

third, the Stalking Horse APA does not generally provide that all post-petition accounts payable

relating to the Seller Facilities will be assumed and paid by the Buyer, making it is impossible to

determine the scope of administrative claims that will be left for the estates to pay.

         21.    Accordingly, absent modifications to the terms of the Proposed Sale or the order

approving the sale, the Debtors cannot meet their burden of establishing that a sound business

justification exists for the Proposed Sale.

C.       Other Sale Objections

         22.    Under section 2.1(j) of the APA, the Buyer is purchasing “all claims or causes of

action relating to or arising from any of the Purchased Assets, including, without limitation, any

Avoidance Actions . . . .” First, this is a broad category for which the Debtors have not provided

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sufficient specificity. Without more information, the Committee is not able to evaluate the value

of these causes of action and whether the Buyer is paying a fair price. Moreover, if the Buyer

wants to purchase avoidance actions, then those avoidance actions should be extinguished.

        23.     Under section 2.3(a) of the Stalking Horse APA, the Buyer is assuming “all

accounts payable related to the Seller Facilities that are listed on Schedule 2.3(a).” Section

2.3(a) of the Stalking Horse APA permits the schedule to be “updated from time to time prior to

the Closing Date to add or remove any accounts payable relating to the Seller Facilities accrued

or paid in the ordinary course of business consistent with past practice.” The Buyer should be

assuming all postpetition accounts payable relating to the Seller Facilities with a corresponding

purchase price adjustment.

        24.     Under section 5.8 of the Stalking Horse APA, the Debtors have access to the

Buyer’s books and records.      The Committee and any post-confirmation entity (such as a

liquidating trust) should have the same access to the books and records. There is no justification

for denying such access to the Committee and any post-confirmation estate representative.

        25.     Under paragraph 34 of the proposed sale order, “the Stalking Horse [APA] and

any related agreements may be waived, modified, amended, or supplemented by agreement of

the Debtors and the Purchaser, without further action or order of the Court.” At a minimum, the

Committee should receive notice of any such waiver, modification, amendment, or supplement.


                                          IV.
                                RESERVATION OF RIGHTS

        26.     The Committee expressly reserves the right (1) to supplement this Objection at

any time prior to the hearing on the Sale Motion and/or at the Sale Hearing; and (2) to raise

additional or further objections to the Sale Motion at any hearing on the Sale Motion and/or at

the Sale Hearing.

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        WHEREFORE, for the reasons set forth herein, the Committee respectfully requests that

this Court (i) deny the relief requested in the Sale Motion absent certain modifications raised

herein, and (ii) grant such other and further relief as the Court deems just and equitable.

                          [Remainder of Page Intentionally Left Blank]




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Dated: August 1, 2019
Wilmington, Delaware

                                       GREENBERG TRAURIG, LLP

                                       /s/ Dennis A. Meloro
                                       Dennis A. Meloro (No. 4435)
                                       The Nemours Building
                                       1007 North Orange Street, Suite 1200
                                       Wilmington, DE 19801
                                       Telephone: (302) 661-7000
                                       Facsimile: (302) 661-7360
                                       Email: melorod@gtlaw.com

                                       -and-

                                       BAYARD, P.A.
                                       Justin R. Alberto (No. 5126)
                                       Erin R. Fay (No. 5268)
                                       Daniel N. Brogan (No. 5723)
                                       600 N. King Street, Suite 400
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 655-5000
                                       Facsimile: (302) 658-6395
                                       Email: jalberto@bayardlaw.com
                                               efay@bayardlaw.com
                                               dbrogan@bayardlaw.com

                                       -and-

                                       GREENBERG TRAURIG, LLP
                                       David D. Cleary (admitted pro hac vice)
                                       Nancy A. Peterman (admitted pro hac vice)
                                       77 West Wacker Drive
                                       Suite 3100
                                       Chicago, IL 60601
                                       Telephone: (312) 456-8400
                                       Facsimile: (312) 456-8435
                                       Email: clearyd@gtlaw.com
                                              petermann@gtlaw.com

                                       Co-Counsel for the Official
                                       Committee of Unsecured Creditors




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 1, 2019, I caused a true and correct copy
of the foregoing to be served by mail and/or by hand delivery on:

        Counsel to the Debtors                      Local Counsel to the Debtors
        Akin Gump Strauss Hauer & Feld              Young, Conaway, Stargatt &
        LLP                                         Taylor, LLP
        2001 K St., N.W.                            Rodney Square
        Washington DC 2006                          1000 N. King St.
                                                    Wilmington, DE 19801
        – and –
                                                    Email: mbcleary@ycst.com
        2300 N. Field St., Suite 1800
        Dallas, TX 75201
        Email: salberino@akingump.com
                keide@akingump.com
                sschultz@akingump.com

        Counsel to the DIP Agent and                Local Counsel to the DIP Agent
        the Prepetition Agent                       and the Prepetition Agent
        King & Spalding LLP                         The Rosner Law Group LLC
        1185 Avenue of the Americas,                824 N. Market St., Suite 810
        34th Floor                                  Wilmington, DE 19801
        New York, NY 10036                          Email: rosner@teamrosner.com
        Email: asteinberg@kslaw.com

        Counsel to the Prepetition                  Counsel to the Prepetition
        Second Term Facility Agents                 Priming Term Facility Lenders
        Shearman & Sterling LLP                     Ropes & Gray LLP
        599 Lexington Ave.                          1211 Avenue of the Americas
        New York, NY 10022                          New York, NY 10036
        Email:                                      Email:
        ned.schodek@shearman.com                    Matthew.Roose@ropesgray.com

        Office of the United States
        Trustee
        844 N. King St., Room 2207,
        Lockbox 35
        Wilmington, DE 19801
        Email:
        benjamin.a.hackman@usdoj.gov

                                              /s/ Dennis A. Meloro
                                            Dennis A. Meloro (No. 4435)




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